
994 So.2d 1251 (2008)
A.E., a child, Appellant,
v.
STATE of Florida, Appellee.
No. 4D08-2982.
District Court of Appeal of Florida, Fourth District.
November 26, 2008.
Carey Haughwout, Public Defender, and Anthony Calvello, Assistant Public Defender, West Palm Beach, for appellant.
Bill McCollum, Attorney General, Tallahassee, and Joseph A. Tringali, Assistant Attorney General, West Palm Beach, for appellee.
PER CURIAM.
Pursuant to the state's concession of error, the final order is reversed.
KLEIN, HAZOURI and MAY, JJ., concur.
